     Case 2:20-cv-10097-SVW-GJS Document 12 Filed 02/23/21 Page 1 of 2 Page ID #:34




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 6    Attorneys for Plaintiff
      OMAR LUNA
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      OMAR LUNA,                                        Case No.: 2:20-cv-10097 SVW (GJSx)
11
12                 Plaintiff,
                                                        NOTICE OF VOLUNTARY
13          vs.                                         DISMISSAL OF ENTIRE ACTION
                                                        WITH PREJUDICE
14
      MALEEH AYMON D/B/A SKYLINE
15    MARKET AND LIQUOR; IAN
16    SPISZMAN, AS TRUSTEE OF THE
      SPISZMAN FAMILY TRUST; and DOES
17    1 to 10; DOES 1 to 10,
18
19                 Defendants.
20
21          PLEASE TAKE NOTICE that OMAR LUNA
22    (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
23    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
24    Procedure Rule 41(a)(1) which provides in relevant part:
25
            (a) Voluntary Dismissal.
26
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
27
                          and any applicable federal statute, the plaintiff may dismiss an action
28
                          without a court order by filing:

                                                    1
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-10097-SVW-GJS Document 12 Filed 02/23/21 Page 2 of 2 Page ID #:35




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: February 23, 2021       SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
